                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                          )
                                                  )   No. 1:15-CR-290-LO-6
         v.                                       )
                                                  )   Hon. Liam O’Grady
ARNULFO FAGOT-MAXIMO,                             )
                                                  )   Sentencing: May 9, 2019
     Defendant.                                   )

                  CONSENT MOTION FOR ENTRY OF BRIEFING ORDER

       In advance of Defendant Arnulfo Fagot-Maximo’s sentencing hearing on May 9, 2019,

the United States respectfully moves for entry of the attached Briefing Order. The proposed

Briefing Order would set the following deadlines for filing posttrial motions and sentencing

memoranda:


                 Thursday, April 4, 2019 – Posttrial Motions/Opening Briefs Due

                 Thursday, April 25, 2019 – Response Briefs to Posttrial Motions Due

                 Monday, April 29, 2019 – Initial Sentencing Memoranda Due

                 Monday, May 6, 2019 – Responsive Sentencing Memoranda Due


       The government has conferred with Defendant’s counsel, who advised that they consent

to this motion.
      Respectfully submitted,

      G. Zachary Terwilliger
      United States Attorney

By:           /s/_________________
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               /s/_________________
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of February, 2019, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system.



                                                                 /s/____________________
                                                     Thomas W. Traxler
                                                     Assistant United States Attorney




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